     IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN SECTION
                      OF TENNESSEE AT KNOXVILLE

    THOMAS GIRDLESTONE,

            Plaintiff,



    v.                                                      Civil Action No.: 3:09-CV-530

                                                            JURY DEMANDED

    ACE USA, a/k/a
    ACE GROUP &
    ACE WESTCHESTER,
    d/b/a ILLINOIS UNION INSURANCE

            Defendants.

    ________________________________________________________________________	  

                               MOTION TO AMEND COMPLAINT



            COMES NOW the Plaintiff in this cause, Thomas Girdlestone, by and through

    under-signed counsel and pursuant L.R.15.1, as well as F.R.C.P. § 15 would move this

    Honorable Court for leave to amend his original complaint filed in the Knox County

    Chancery Court before being removed to this Honorable Court pursuant to diversity

    jurisdiction. Movant would show that he has filed a Motion to Strike Defendant’s

    pending Motion to Dismiss for failure to comply with its own insurance policy

    requirement that disputes arising out of the policy shall be submitted to alternative

    dispute resolution (“ADR”), i.e. non-binding arbitration or binding arbitration. Defendant

    to this point, despite three (3) requests from the Plaintiff in this cause, has refused to enter

    into ADR. Plaintiff has already raised this issue of the Defendant’s bad faith conduct in




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    his complaint, as well as his Motion to Strike. Defendant has made its intention clear that

    it intends to file a response in opposition to the Plaintiff’s motion seeking ADR and

    accordingly, Plaintiff files this Motion seeking leave to amend his original complaint.


           WHEREFORE, PREMISES CONSIDERED, MOVANT PRAYS THAT HE BE

    GRANTED LEAVE TO AMEND AND BE ALLOWED TO FILE THE ATTACHED

    AMEDNED COMPLAINT HEREWITH.


                                          Respectfully submitted,

                                          LAW OFFICE OF RUSSELL L. EGLI


                                          /s/ Russell L. Egli
                                          Russell L. Egli
                                          Attorney for the Plaintiff
                                          P.O. Box 23843
                                          Knoxville, TN 37933
                                          (865) 531-8192
                                          BPR#024408




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                                  CERTIFICATE OF SERVICE

            I, the under-signed authority, certify that a true and accurate copy of this pleasing
    filed through the ECF has been transmitted electronically or by other means to the
    following:

           Robert Bowman, Esq.
           Via ECF electronic transmission

           Jessica Tyndall, Esq.
           5410 Trinity Road, Suite 116
           Raleigh, NC 27607

           Greg Brown, Esq.
           5410 Trinity Road, Suite 116
           Raleigh, NC 27607


           This the 10th day of February 2010.

                                           /s/ Russell L. Egli
                                           Russell L. Egli


    	  




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